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              EXHIBIT 160
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - - - x
     JANE DOE 1, individually and on
     behalf of all others similarly
     situated,
               Plaintiff,
                              Case No.
         -against-            1:22-cv-10018-JSR
     DEUTSCHE BANK AKTEINGESELLSCHAFT, et al.,
               Defendants.
     - - - - - - - - - - - - - - - - - - - - x
     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - - - x
     JANE DOE 1, individually and on
     behalf of all others similarly
     situated,

                    Plaintiff,
                                          Civil Action No.
           -against-                      1:22-cv-10019-JSR

     JP MORGAN CHASE BANK, N.A.

                    Defendants.

     - - - - - - - - - - - - - - - - - - - - x
                C O N F I D E N T I A L
                Videotaped oral deposition of PAUL
          MORRIS, taken pursuant to subpoena, was
          held REMOTELY, commencing April 18,
          2023, 9:00 a.m., on the above date,
          before Leslie Fagin, a Court Reporter
          and Notary Public in the State of New
          York.
                 MAGNA LEGAL SERVICES
                    (866) 624-6221
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 2         Q.      Right.   So over the course of your           09:12:50

 3   relationship with Jeffrey Epstein, did he                   09:12:52

 4   introduce you to other potential clients?                   09:12:54

 5                 MS. BEBCHICK:     Objection.                  09:12:58

 6         A.      Yes.                                          09:13:00

 7         Q.      And was one of the other potential            09:13:01

 8   clients Epstein introduced you to Leon Black?               09:13:05

 9         A.      Yes.                                          09:13:11

10         Q.      Did Leon Black become a client of             09:13:12

11   yours?                                                      09:13:19

12         A.      I believe so.                                 09:13:20

13         Q.      Is whether or not Leon Black was a            09:13:23

14   client of yours something you can't recall                  09:13:35

15   one way or the other?                                       09:13:37

16                 MS. BEBCHICK:     Objection.                  09:13:41

17         A.      I think we were working on getting            09:13:44

18   an account open for him and I think that was                09:13:46

19   it.   I don't recall if we ever got that open.              09:13:53

20         Q.      Were there any other clients or               09:13:56

21   potential clients that Jeffrey Epstein                      09:14:03

22   introduced you to?                                          09:14:05

23                 MR. BOUCHOUX:     Objection.     Form.        09:14:08

24         A.      There was one other real estate               09:14:10

25   developer, David Mitchell who we met in New                 09:14:16
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 2   York.                                                       09:14:23

 3           Q.      Did David Mitchell ever become a            09:14:23

 4   client of yours?                                            09:14:26

 5           A.      No.                                         09:14:27

 6           Q.      Over the course of your                     09:14:29

 7   relationship with Jeffrey Epstein, did he                   09:14:30

 8   make promises to introduce you to other high                09:14:32

 9   net worth individuals for the purposes of                   09:14:36

10   potentially becoming one of your clients?                   09:14:41

11                   MR. BOUCHOUX:     Objection.   Form.        09:14:45

12           A.      No.                                         09:14:47

13           Q.      Did you ever discuss with Jeffrey           09:14:47

14   Epstein the possibility of him referring                    09:14:53

15   other clients to you?                                       09:14:56

16           A.      No.                                         09:15:02

17           Q.      Was there ever a time when you              09:15:03

18   discussed with Jeffrey Epstein the                          09:15:11

19   introduction to an individual or individuals                09:15:15

20   in the restaurant business?                                 09:15:18

21                   MR. BOUCHOUX:     Objection.   Form.        09:15:23

22           A.      I don't recall.                             09:15:25

23           Q.      Was there ever a time when you and          09:15:25

24   Jeffrey Epstein discussed potentially an                    09:15:28

25   introduction with Andrew Farkas to be a                     09:15:32
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 2   potential client?                                           09:15:36

 3         A.      Yes.                                          09:15:37

 4         Q.      Is that something that three                  09:15:38

 5   questions ago you just didn't remember and                  09:15:42

 6   now I've jogged your memory?                                09:15:44

 7                 MR. BOUCHOUX:     Objection.                  09:15:50

 8                 MS. BEBCHICK:     Objection.                  09:15:51

 9         Argumentative.                                        09:15:51

10         Q.      You can answer.                               09:15:53

11         A.      I just didn't recall --                       09:15:54

12         Q.      Fair enough.    Fair enough.                  09:15:58

13                 So Andrew -- in addition to David             09:15:59

14   Mitchell, Andrew Farkas is another individual               09:16:01

15   that Jeffrey Epstein discussed with you                     09:16:04

16   making an introduction to be a potential                    09:16:08

17   client, correct?                                            09:16:10

18         A.      Yes.                                          09:16:13

19         Q.      And did Jeffrey Epstein make that             09:16:13

20   introduction between you and Andrew Farkas?                 09:16:17

21         A.      Yes, he did.                                  09:16:21

22         Q.      Did Andrew Farkas become a client             09:16:22

23   of yours?                                                   09:16:25

24         A.      No.                                           09:16:26

25         Q.      Do you know why not?                          09:16:26
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 2                 MR. BOUCHOUX:     Objection.                  09:16:30

 3         A.      He was covered by another banker.             09:16:34

 4         Q.      Another banker at the same                    09:16:36

 5   financial institution you worked?                           09:16:39

 6         A.      Yes.                                          09:16:41

 7         Q.      All right.    So he was already an            09:16:42

 8   existing client of the bank when Jeffrey                    09:16:44

 9   Epstein made the introduction?                              09:16:47

10         A.      I don't know if he was an existing            09:16:48

11   client, but he was a prospect of another                    09:16:50

12   banker.                                                     09:16:53

13         Q.      Okay.   Other than David Mitchell             09:16:54

14   and Andrew Farkas, can you recall any other                 09:16:56

15   individuals -- sorry, and Leon Black -- can                 09:16:59

16   you recall any other individuals Jeffrey                    09:17:03

17   Epstein referred to you or indicated he would               09:17:06

18   set up a meeting for you to potentially be a                09:17:10

19   client?                                                     09:17:14

20                 MR. BOUCHOUX:     Objection.     Form.        09:17:15

21         A.      There was another Boris Nikolic.              09:17:17

22         Q.      Who was Boris Nikolic?                        09:17:26

23         A.      Boris Nikolic was a medical                   09:17:28

24   advisor.      He was an entrepreneur, runs a                09:17:30

25   venture fund.                                               09:17:34
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 2         Q.      Was Boris Nikolic also somehow                09:17:36

 3   related to Bill Gates?                                      09:17:38

 4         A.      Yes.                                          09:17:40

 5         Q.      Did Jeffrey Epstein make you aware            09:17:42

 6   of the relationship between Boris Nikolic and               09:17:45

 7   Bill Gates?                                                 09:17:49

 8         A.      I don't recall.                               09:17:50

 9         Q.      Did Jeffrey Epstein tell you that             09:17:51

10   he, Jeffrey Epstein, had recently met with                  09:17:54

11   Bill Gates and there was a prospect of an                   09:17:58

12   introduction between you and Bill Gates?                    09:18:03

13         A.      I don't recall.                               09:18:06

14         Q.      Do you remember Jeffrey Epstein               09:18:08

15   ever telling you that he had met with Bill                  09:18:10

16   Gates?                                                      09:18:14

17         A.      I don't recall.                               09:18:14

18         Q.      Do you remember Jeffrey Epstein               09:18:14

19   ever telling you that he had met with                       09:18:18

20   somebody named Josh Harris?                                 09:18:20

21         A.      I don't recall.                               09:18:24

22         Q.      Is Josh Harris the name of an                 09:18:25

23   individual that Jeffrey Epstein indicated                   09:18:29

24   that he would introduce you to for the                      09:18:31

25   purposes of becoming one of your clients?                   09:18:34
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 2   aware of?                                                   09:42:38

 3           A.      No.                                         09:42:39

 4           Q.      For the entire period that you were         09:42:39

 5   the private banker of Jeffrey Epstein, what                 09:42:45

 6   then did you understand Jeffrey Epstein's                   09:42:49

 7   day-to-day business to be?                                  09:42:51

 8                   MS. BEBCHICK:   Objection.                  09:42:55

 9           A.      Can we go back -- can we go back to         09:43:00

10   the question, the previous question again.                  09:43:02

11           Q.      I believe the previous question --          09:43:07

12   tell me if I'm misstating this, but I believe               09:43:09

13   the previous question was other than Les                    09:43:12

14   Wexner, are you aware of any other client                   09:43:14

15   that Jeffrey Epstein had between 2010 and                   09:43:16

16   2016?                                                       09:43:19

17           A.      No, I -- he -- yes, he was working          09:43:20

18   with Leon Black, that was my understanding.                 09:43:25

19           Q.      When did you learn that Jeffrey             09:43:27

20   Epstein was working for Leon Black?                         09:43:30

21                   MR. BOUCHOUX:   Objection.     Form.        09:43:33

22           A.      I don't know exactly.     I don't           09:43:36

23   recall.                                                     09:43:40

24           Q.      Did you learn that Jeffrey Epstein          09:43:40

25   was working with Leon Black during your                     09:43:42
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 2   tenure at JP Morgan or was it during your                   09:43:44

 3   tenure at Deutsche Bank?                                    09:43:47

 4         A.      I can't recall exactly --                     09:43:55

 5         Q.      How did you first -- sorry.                   09:43:58

 6         A.      It's okay.                                    09:43:58

 7         Q.      Sometimes on Zoom it's not all that           09:44:04

 8   easy to figure out when one person is done                  09:44:05

 9   talking and the next one begins, so I                       09:44:08

10   apologize for interrupting you.                             09:44:09

11                 MR. TODRES:     And Paul, if you have         09:44:21

12         any further computer issues, let us                   09:44:22

13         know.     We have a technician outside.          He   09:44:22

14         can fix anything --

15                 THE WITNESS:     It's just freezing

16         every once in a while.

17                 MR. TODRES:     Do you want to take a

18         break now to stop it --

19                 THE WITNESS:     No, it's fine.

20                 Can you repeat the question?

21                 MR. EDWARDS:     Sure.                        09:44:28

22         Q.      How did you first learn of the                09:44:28

23   relationship between Jeffrey Epstein and Leon               09:44:30

24   Black?                                                      09:44:34

25                 MR. BOUCHOUX:     Objection.     Form.        09:44:36
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 2          A.      Don't -- I don't recall.                     09:44:37

 3          Q.      Did you ever have any conversations          09:44:38

 4   with Jeffrey Epstein about the fact that Leon               09:44:40

 5   Black was a client of his?                                  09:44:45

 6          A.      I don't recall.                              09:44:50

 7          Q.      Did you ever have any conversations          09:44:51

 8   with Leon Black about any association that he               09:44:53

 9   had with Jeffrey Epstein?                                   09:44:58

10          A.      No.     I don't recall, no.                  09:45:00

11          Q.      How many meetings did you ever have          09:45:02

12   with Leon Black?                                            09:45:06

13          A.      Leon Black had a family office.         So   09:45:13

14   if the question is with Leon directly or his                09:45:18

15   family office.          I want to clarify to be             09:45:22

16   helpful.                                                    09:45:32

17          Q.      Sure.     I appreciate the                   09:45:32

18   clarification.                                              09:45:32

19                  So let's start with just Leon                09:45:33

20   Black.       How many times did you meet with Leon          09:45:35

21   Black personally?                                           09:45:37

22          A.      One time.                                    09:45:37

23          Q.      And was that at his office that you          09:45:38

24   described previously in the deposition where                09:45:40

25   Jeffrey Epstein was also present?                           09:45:43
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 2          A.      Yes.                                         09:45:45

 3          Q.      Then in addition to that meeting             09:45:45

 4   with Leon Black personally, am I                            09:45:50

 5   understanding that you also had meetings with               09:45:53

 6   other people in his family office?                          09:45:56

 7          A.      Yes, a team of my colleagues at              09:46:00

 8   Deutsche Bank.                                              09:46:04

 9          Q.      So your meeting with Leon Black's            09:46:05

10   family office where he was not personally in                09:46:10

11   attendance, occurred when you were at                       09:46:14

12   Deutsche Bank, is that right?                               09:46:18

13          A.      Yes.                                         09:46:20

14          Q.      Does that fact that you can recall           09:46:21

15   that the meetings with his family office                    09:46:29

16   occurred while you were at Deutsche Bank,                   09:46:32

17   does that help to refresh your recollection                 09:46:34

18   as to when your meeting with Leon Black                     09:46:36

19   personally occurred?                                        09:46:40

20                  MR. BOUCHOUX:    Objection.                  09:46:43

21                  MS. BEBCHICK:    Objection.                  09:46:44

22          A.      Is the question when my meeting              09:46:49

23   with Leon Black was?                                        09:46:52

24          Q.      Yes.                                         09:46:55

25          A.      I just don't recall.                         09:46:56
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 2   bonuses or commissions?                                     09:52:43

 3          A.      Yes.                                         09:52:47

 4          Q.      What was the payment structure at            09:52:48

 5   JP Morgan when you started as a private                     09:52:53

 6   banker?                                                     09:52:56

 7                  MS. BEBCHICK:    Objection.                  09:52:57

 8          A.      The compensation structure, as I             09:53:00

 9   recall, was a base salary and an annual                     09:53:03

10   discretionary bonus.                                        09:53:08

11          Q.      What factors were taken into                 09:53:10

12   account to determine what that discretionary                09:53:14

13   bonus would be?                                             09:53:17

14          A.      I don't recall all the factors but           09:53:22

15   it was not a formulaic.         Based on business           09:53:25

16   development, revenues, client coverage, a                   09:53:32

17   number of factors, but I can't recall all the               09:53:36

18   details.                                                    09:53:38

19          Q.      Okay.   Do you remember receiving --         09:53:39

20   sorry.                                                      09:53:39

21                  Do you remember receiving a letter           09:53:48

22   when you started at JP Morgan informing you                 09:53:48

23   that your base salary would be                    ?         09:53:52

24          A.      I don't recall but it sounds about           09:53:56

25   right.                                                      09:53:59
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 2                  MR. BOUCHOUX:     Objection.    Form.        09:55:14

 3          A.      I don't recall.                              09:55:17

 4          Q.      Was one of the objectives that was           09:55:19

 5   instilled in you as a JP Morgan private                     09:55:22

 6   banker to acquire new clients?                              09:55:24

 7                  MR. BOUCHOUX:     Objection.    Form.        09:55:28

 8          A.      Yes, that was my understanding.              09:55:31

 9          Q.      And was the acquisition of high net          09:55:32

10   worth or ultra high net worth individuals a                 09:55:40

11   targeted group of people for you?                           09:55:46

12                  MR. BOUCHOUX:     Objection.    Form.        09:55:49

13          Vague.     Ambiguous.                                09:55:51

14          A.      That was my understanding.                   09:55:52

15          Q.      Did you understand that the more             09:55:53

16   money you brought in to JP Morgan, the                      09:55:56

17   greater the chances of you getting a bonus                  09:56:02

18   would be?                                                   09:56:04

19                  MS. BEBCHICK:     Objection.                 09:56:08

20                  MR. BOUCHOUX:     Objection.    Form.        09:56:09

21          A.      It wasn't so much about, you know,           09:56:12

22   the assets, it was about what those assets                  09:56:14

23   produced for the business.          Revenues, for           09:56:20

24   example.                                                    09:56:23

25          Q.      What does that mean -- explain to            09:56:23
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 2   me because I'm not a banker, what it means to               09:56:25

 3   -- increasing revenue or assets as opposed to               09:56:33

 4   just bringing in money under management?                    09:56:37

 5                  I don't understand the difference.           09:56:38

 6          A.      Sure.   Some assets really might             09:56:44

 7   just not generate any revenues because you                  09:56:47

 8   are not managing them, you know, they might                 09:56:52

 9   just be sitting in a brokerage account.             But     09:56:54

10   you could have a portfolio that we are                      09:56:57

11   actively managing or you can have an account                09:57:01

12   that you are actively trading, that is                      09:57:03

13   potentially or definitely more valuable and                 09:57:06

14   that generates revenues.                                    09:57:10

15                  If you just have some assets                 09:57:12

16   sitting in a brokerage account, they don't                  09:57:15

17   generate assets, they don't generate revenues               09:57:17

18   at all.                                                     09:57:19

19          Q.      So it wasn't really just the amount          09:57:20

20   of money that gets brought under management,                09:57:22

21   it's also the types of vehicles that you are                09:57:25

22   managing that would matter most to JP Morgan?               09:57:27

23                  MR. BOUCHOUX:    Objection.     Form.        09:57:30

24          Misstates.                                           09:57:31

25          A.      I can't recall all that.       I just        09:57:32
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 2   really, again, as I mentioned, the revenues                 10:18:17

 3   were, you know, insignificant.                              10:18:20

 4          Q.      What would Jeffrey Epstein have              10:18:22

 5   done with his assets that could have                        10:18:25

 6   increased the revenues for Deutsche Bank?                   10:18:28

 7                  MS. BEBCHICK:    Objection.                  10:18:33

 8          A.      You know, a number of things; more           10:18:35

 9   trading, asset -- you know, investment                      10:18:36

10   management.                                                 10:18:40

11          Q.      And what instead was he doing with           10:18:42

12   his assets that was not generating revenue?                 10:18:45

13          A.      He was doing a little bit of                 10:18:52

14   trading but it just wasn't that active.                     10:18:55

15          Q.      Was Leon Black somebody that you             10:19:00

16   considered to be an important potential                     10:19:05

17   client for you?                                             10:19:07

18                  MR. BOUCHOUX:    Objection.     Form.        10:19:08

19                  MS. BEBCHICK:    Objection.                  10:19:09

20          A.      Yes, he was definitely a priority            10:19:13

21   prospect.                                                   10:19:19

22          Q.      Why was that?                                10:19:19

23          A.      Leon Black had a very significant            10:19:26

24   net worth and he was a CEO of a large                       10:19:30

25   investment firm, and I looked at him as a                   10:19:36
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 2   priority prospect.                                          10:19:48

 3          Q.      At some point in time, would you             10:19:49

 4   agree that there was nothing more important                 10:19:50

 5   to you than Jeffrey Epstein and Leon Black?                 10:19:52

 6                  MR. BOUCHOUX:    Objection.     Form.        10:19:57

 7                  MS. BEBCHICK:    Objection.                  10:19:58

 8          A.      No, I don't think Epstein really             10:19:59

 9   turned out to be that important.           I think          10:20:10

10   over time, we -- on the business side, we                   10:20:13

11   spent very little time with Mr. Epstein, not                10:20:23

12   that we weren't hopeful to do other things                  10:20:29

13   with him.       But I was busy, my team was busy            10:20:32

14   working with many other people and                          10:20:40

15   prospecting many other people and he wasn't                 10:20:42

16   that important --                                           10:20:48

17          Q.      So when --                                   10:20:56

18                  MR. BOUCHOUX:    I don't think the           10:20:56

19          witness is done.                                     10:20:58

20          A.      Yeah, I think there were two                 10:20:58

21   questions.                                                  10:20:58

22                  So Leon Black was a -- clearly an            10:20:59

23   important prospect, but he was just a                       10:21:01

24   prospect to us.                                             10:21:03

25          Q.      So when you were at Deutsche Bank,           10:21:08
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 2                  MR. BOUCHOUX:     Objection.    Form.        14:07:38

 3          Asked and answered.        Misstates                 14:07:40

 4          testimony.     Mischaracterizes facts.               14:07:42

 5          Argumentative.                                       14:07:46

 6          A.      Sorry, I can't recall other client           14:07:50

 7   names.                                                      14:07:54

 8          Q.      While you were at JP Morgan, did             14:07:54

 9   there come a point in time where Jeffrey                    14:08:04

10   Epstein wanted to bring you in on a deal                    14:08:13

11   related to Leon Black?                                      14:08:16

12                  MS. BEBCHICK:     Objection to form.         14:08:20

13          A.      Yes.                                         14:08:23

14          Q.      Was that related to an art loan?             14:08:23

15          A.      Yes.                                         14:08:30

16          Q.      Did you get brought in on the art            14:08:30

17   loan deal at JP Morgan?                                     14:08:34

18                  MR. BOUCHOUX:     Objection to form.         14:08:37

19          A.      No, I don't believe so.                      14:08:39

20          Q.      Do you know why not?                         14:08:42

21          A.      I don't recall.                              14:08:47

22          Q.      Did there come a point where                 14:08:49

23   Jeffrey Epstein wanted an introduction fee                  14:08:51

24   related to Leon Black while you were Jeffrey                14:08:57

25   Epstein's private banker at JP Morgan?                      14:09:02
